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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 12-668V
                                      Filed: August 22, 2014
                                        Not for Publication


*************************************
STACIE FULLER,                            *
                                          *
               Petitioner,                *
                                          *                       Attorneys’ fees and costs decision;
v.                                        *                       an amount to which respondent does
                                          *                       not object
SECRETARY OF HEALTH                       *
AND HUMAN SERVICES,                       *
                                          *
               Respondent.                *
                                          *
*************************************
Ronald C. Homer, Boston, MA, for petitioner.
Lisa A. Watts, Washington, DC, for respondent.

MILLMAN, Special Master


                DECISION AWARDING ATTORNEYS’ FEES AND COSTS1

        On August 19, 2014, petitioner filed an application for attorneys’ fees and costs.
Petitioner requests $20,689.00 in attorneys’ fees and costs, consisting of $19,183.10 in attorneys’
fees, $1,046.43 in attorneys’ costs, and $459.47 in petitioner’s costs.

        On August 22, 2014, respondent’s counsel informed the undersigned’s law clerk that
respondent does not object to petitioner’s request for attorneys’ fees and costs. The undersigned
finds petitioner’s request to be reasonable. Accordingly, the court awards:

1
  Because this unpublished decision contains a reasoned explanation for the special master's action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims's website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat.
2899, 2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be
made available to the public unless they contain trade secrets or commercial or financial information that
is privileged and confidential, or medical or similar information whose disclosure would constitute a
clearly unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify
and move to redact such information prior to the document=s disclosure. If the special master, upon
review, agrees that the identified material fits within the banned categories listed above, the special
master shall redact such material from public access.
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        a. $20,229.53, representing reimbursement for attorneys’ fees and costs. The award
           shall be in the form of a check payable jointly to petitioner and Conway, Homer &
           Chin-Caplan, P.C. in the amount of $20,229.53; and

        b. $459.47, representing reimbursement for petitioner’s costs. The award shall be in the
           form of a check payable to petitioner in the amount of $459.47.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2


IT IS SO ORDERED.


Dated: August 22, 2014                                                      /s/ Laura D. Millman
                                                                              Laura D. Millman
                                                                                Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
